                                                                                 Case 3:21-cv-07521-EMC Document 19 Filed 11/12/21 Page 1 of 1




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                                                                          4                                 UNITED STATES DISTRICT COURT

                                                                          5                                NORTHERN DISTRICT OF CALIFORNIA

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                                                                          7     COSTAR REALTY INFORMATION, INC.                  Case No. 21-cv-7521-EMC

                                                                          8                   Plaintiff,
                                                                                                                                 SUA SPONTE JUDICIAL REFERRAL
                                                                          9             v.                                       FOR PURPOSES OF DETERMINING
                                                                                                                                 RELATIONSHIP OF CASES
                                                                         10     MODERN FONT APPLICATIONS, LLC,
                                                                         11                   Defendant.

                                                                         12
United States District Court
                               For the Northern District of California




                                                                         13          Pursuant to Civil Local Rule 3-12 (c), the Court ORDERS that the above-captioned case is

                                                                         14   referred to Judge Lucy H. Koh to determine whether it is related to Duolingo, Inc. v. Modern Font

                                                                         15   Applications LLC, Case No. C21-6132-LHK.

                                                                         16          IT IS SO ORDERED.

                                                                         17   Dated: November 12, 2021

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                                                                                                                             EDWARD M. CHEN
                                                                         20                                                  United States District Judge
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